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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                       Case No. 23 C 818
 IN RE: HAIR RELAXER MARKETING
 SALES PRACTICES AND PRODUCTS                          MDL No. 3060
 LIABILITY LITIGATION
                                                       Judge Mary M. Rowland

                            CASE MANAGEMENT ORDER NO. 9
                   Establishing Common Benefit Fee and Expense Protocols

I.     SCOPE OF ORDER

       This Order is entered to provide for the fair and equitable sharing among plaintiffs, and their

counsel, of the burden of services performed and expenses incurred by attorneys acting for the

common benefit of all plaintiffs in this complex litigation. As set forth in more detail below,

common benefit work product includes all work performed for the benefit of all plaintiffs, including

pre-trial matters, discovery, trial preparation, a potential settlement process, defense of plaintiffs’

rights in respect of potential or actual insolvency proceedings of any Defendant, and all other work

that advances this litigation to conclusion. The governing principles are derived from the United States

Supreme Court’s common benefit doctrine, as established in Trustees v. Greenough, 105 U.S. 527

(1881); refined in, inter alia, Central Railroad & Banking Co. v. Pettus, 113 U.S. 116 (1884); Sprague

v. Ticonic National Bank, 307 U.S. 161 (1939); Mills v. Electric Auto-Lite Co., 396 U.S. 375 (1970);

Boeing Co. v. Van Gemert, 444 U.S. 472 (1980); and approved and implemented in the MDL context,

in inter alia, In re Air Crash Disaster at Florida Everglades on December 29, 1972, 549 F.2d 1006,

1019-21 (5th Cir. 1977); In re MGM Grand Hotel Fire Litigation, 660 F.Supp. 522, 525-29 (D. Nev.

1987); In re Vioxx Prod. Liab. Litig., MDL No. 1657 (E.D. La. Aug. 4, 2005, amended May 3, 2007;

Feb. 1, 2008; Sep. 15, 2008; Apr. 10, 2008; and Oct. 31, 2008); In re Diet Drugs

(Phentermine/Fenfluramine/Dexfenjluramine) Prod. Liab. Litig., 582 F.3d 524 (3d. Cir. 2009); In re


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Yasmin and Yaz (Drospirenone) Marketing, Sales Practices and Relevant Prod Liab. Litig, 09-md-2100

(S.D. Ill Mar. 25, 2010); In re Am. Med. Sys., Inc., Pelvic Repair Sys. Prod. Liab. Litig., MDL No. 12-

md-02325 (S.D.W. Va. Oct. 4, 2012); In re C.R. Bard Inc., Pelvic Repair Sys. Prod. Liab. Litig., MDL

No. 10-md-02187 (S.D.W. Va. Oct. 4, 2012); In re Boston Sci., Corp., Pelvic Repair Sys. Prod Liab.

Litig., MDL No. 12-md-0236 (S.D.W. Va. Oct. 4, 2012); In re Coloplast Corp., Pelvic Repair Sys. Prod

Liab. Litig., MDL No. 12-md-02387 (S.D.W. Va. Oct. 4, 2012); In re Ethicon, Inc. Pelvic Repair Sys.

Prod Liab. Litig., MDL No. 12-md-02327 (S.D.W. Va. Oct. 4, 2012); In re Avandia Marketing, Sales

Practices and Prod Liab. Litig., MDL No. 07-md-01871 (E.D. Pa. Oct. 19, 2012); In re Zimmer Nexgen

Knee Implant Prod Liab. Litig., MDL No. 2272 (N.D. Ill. Feb. 19, 2013); In re E.I DuPont De Nemours

and Company C-8 Pers. Injury Litig., MDL No. 13-md-02433 (S.D. Ohio Aug. 5, 2013, amended Sep.

6, 2013); In re Cook Med Inc. Pelvic Repair Sys. Prod. Liab. Litig., MDL No. 13-md-02440 (S.D.W.

Va. Oct. 28, 2013); In re Testosterone Replacement Therapy Prod. Liab. Litig., (N.D. Ill. Nov. 25,

2014); In re Lipitor (Atorvastatin Calcium) Mktg., Sales Practices and Prod. Liab. Litig., MDL No. 14-

mn-02502 (D.S.C. Jan. 22, 2015); In re Oil Spill by the Oil Rig "Deepwater Horizon" in the Gulf of

Mexico, on April 20, 2010 MDL No. 10-md-02179 (E.D. La. Oct. 2, 2015); In re Neomedic, Pelvic

Repair Sys. Prod. Liab. Litig., MDL No. 14-md-02511 (S.D.W. Va. Dec. 22, 2015); In re lnvokana

(Canaglifozin) Prod Liab. Litig., MDL No. 16-md-02750 (D.N.J. Mar. 21, 2017); In re Benicar

(Olmesartan) Prod Liab. Litig., MDL No. 15-md-2606 (D.N.J. Aug. 15, 2017); In re Proton-Pump

Inhibitor Prod Liab. Litig. (No. II), MDL No. 17-md-02789 (D.N.J May 8, 2018); In re Aqueous Film-

Forming Foams Prod Liab. Litig., MDL No. 2873 (D.S.C Apr. 26, 2019); In re Elmiron (Pentosan

Polysulfate Sodium) Prod Liab. Litig., MDL No. 2973 (D.N.J. Aug. 26, 2021); In re Paraquat Prod

Liab. Litig., MDL No. 21-md-3004 (S.D. Ill Oct. 13, 2021); In re Abbott Lab., et al., Preterm Infant

Nutrition Prod Liab. Litig., MDL No. 3026 (N.D. Ill Aug. 25, 2022); and In re Recalled Abbott Infant

Formula Prod Liab. Litig., MDL No. 3037 (N.D. Ill Oct. 28, 2022).



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       It cannot be understated the massive amount of work that goes into the prosecution,

management, coordination, oversight communication and overall litigation in a complex

multidistrict litigation. The cases at bar include no less than seven Defendants (many with

complicated corporate histories), well over 50 different products, and discovery efforts that will

span years on various topic areas like: marketing, sales, distribution, design, research, testing,

chemical composition, notice, regulatory issues, scientific and medical issues, and other areas too.

This work will require the storage, categorization, review, coding, and analyzing of millions of

pages of documents and data from the Defendants and third-parties, the taking of corporate defense

witness depositions, the defending of bellwether plaintiff depositions, the conducting of non-party

witness depositions, and the tendering of complicated expert reports in multiple disciplines as well

as the expert discovery/depositions that follow. It will also likely include dispositive motion

practice and extensive pre-trial preparation and possibly a bellwether trial or many. The above

work requires significant costs, including but not limited to, document and data storage of

documents and the analysis and coding of same, deposition and video services, and expert review

and analysis, and only if the litigation is successful are these costs ever reimbursable. This Order

helps ensure that should the plaintiffs be successful, there is a means to compensate the lawyers for

their hard-work that benefited the common good and reimburse their costs and expenses that were

fronted and incurred for the common good – all of which is common benefit.

       A.      Application of this Order

       This order applies to all cases now pending in this MDL, as well as to any case later filed

directly into or transferred to this MDL (if permitted) or removed to this Court and treated as part

of the coordinated proceeding known as In Re Hair Relaxer Marketing Sales Practices and

Products Liability Litigation, MDL 3060 (the “MDL”) subject to sub-point three (3) below.



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     This Order further applies to:

     (1) every appointed co-lead counsel (“Co-Leads”), member of the Plaintiffs’ Executive

        Committee (the “PEC”), member of the Plaintiffs’ Steering Committee (the “PSC”), and

        member of the Leadership Development Committee (the “LDC”) (collectively referred

        to as the “PSC” and identified in this Court’s Order Granting Petition for Appointment

        of a Plaintiffs’ Leadership Committee, dated March 2, 2023) regardless of whether the

        plaintiff’s attorney signs the “Participation Agreement” attached hereto as Exhibit A;

     (2) every member of any PSC law firm’s lawyers designated and authorized to work on

        PSC Committees or Sub-committee and members of their law firm, or any other counsel

        authorized by Co-Lead counsel to perform work that may be considered of value to the

        MDL (hereinafter collectively referred to as “Affiliated Counsel”), regardless of

        whether the attorney or law firm signs the “Participation Agreement” attached hereto as

        Exhibit A. If an attorney or law firm accepts the opportunity to perform work in the

        MDL as Affiliated Counsel at the direction of Co-Lead Counsel or their designees, such

        attorney or law firm affirmatively consents to the application of this Order to all cases

        such counsel has a financial interest in, regardless of whether the attorney or law firm

        signs the Participation Agreement;

     (3) each attorney and/or law firm who represents a plaintiff with a case now pending in or

        later filed in this Court, transferred to or filed directly into this MDL, or removed to this

        Court, regardless of whether plaintiff’s attorney or law firm signs the “Participation

        Agreement” attached hereto as Exhibit A (“the MDL Plaintiffs’ Counsel”) and

        regardless of whether such case is removed in whole or part to, or addressed in, a case

        proceeding under Title 11 of the United States Code. It is presumed that for all such



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        attorneys, this Order shall apply to every case in which they or their law firm have any

        fee interest – whether filed in this MDL, filed in another jurisdiction, tolled and/or

        unfiled – subject to the ability of any such attorney or law firm to apply to the Court for

        relief from this presumption, which shall be granted upon a showing of good cause. An

        attorney or law firm subject to this sub-paragraph only can request to be removed from

        application of this Order but they shall make their request: (i) within 60 days of said

        case being filed directly into this MDL, being transferred to this MDL or being filed in

        or removed to this Court; or (ii) within 60 days of the resolution of the case within a

        proceeding under Title 11 of the United States Code. No extensions of these deadlines

        shall be granted; and

     (4) each attorney and law firm who represents plaintiff(s) solely with case(s) filed in state

        court(s) or who has tolled or unfiled cases and who elects to sign the Participation

        Agreement attached hereto as Exhibit A (“the Participating Non-MDL Plaintiffs’

        Counsel”). For all such attorneys, this Order shall apply to every case – filed or unfiled

        – in which they or their law firm have any fee interest. Further, each attorney or law

        firm who represents plaintiff(s) solely with cases(s) filed in state court(s) or who has

        tolled or unfiled cases and who benefits from the common benefit work prepared in this

        litigation, including by receiving work-product or other benefit generated by or at the

        direction of Co-Lead Counsel, the PEC, the PSC, or the LDC, may be subject to this

        Order regardless of whether they have signed the Participation Agreement if the Court

        determines that the attorney or law firm has benefited from the common benefit work

        prepared in this litigation; and




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       (5) “Special Insolvency Professionals,” meaning the attorneys and/or professionals retained

            by the Co-Lead counsel and PEC as Special Insolvency Professionals, listed on Exhibit

            B attached hereto, which may be amended from time to time, who have agreed that

            compensation for their services and expenses shall be payable from any funds for the

            common benefit established pursuant to this or any further Court Order and who have

            agreed to submit time/billing records in a manner consistent with the obligations under

            this Order and the Participation Agreement (Exhibit A).

       “Participating Counsel” shall mean all attorneys and law firms included in A(1), A(2), A(3),

A(4), and A(5) above.

       B.        Participation Agreement (Exhibit A)

       Exhibit A, attached hereto and incorporated herein, is a voluntary Participation Agreement

between: (1) the PSC and (2) plaintiffs’ attorneys with cases solely in state court or unfiled or tolled

cases who elect to sign the Participation Agreement and perform or receive common benefit work.

The Participation Agreement is a private and cooperative agreement between plaintiffs’ attorneys

only, and not defendants or defendants’ counsel. All plaintiffs’ attorneys who currently only have

cases pending in any state court and who want to become a Participating Counsel shall, within 60

days of this Order or at a time thereafter by agreement with Co-Lead counsel, execute the

Participation Agreement, which shall be provided to any known counsel with state court cases only

by Plaintiffs’ Liaison Counsel. Any plaintiffs’ attorney who does not yet have a Hair Relaxer case

filed in any federal or state court and who wants to become a Participating Counsel may also execute

the Participation Agreement. Any plaintiffs’ attorneys who, in the future, only have cases pending

in any state court and who want to become a Participating Counsel shall be permitted (and

encouraged) to execute the Participation Agreement.



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       Participating Counsel shall be entitled to receive all the common benefit work product

performed and generated in the MDL. Participating Counsel may not share common benefit work

product with counsel who choose not to execute the Participation Agreement. Participating Counsel

who receive common benefit work product shall be bound by CMO 4, the Protective Order in this

MDL. Counsel who choose not to execute the Participation Agreement are not entitled to receive

common benefit work product and may be subject to an increased assessment on all Hair Relaxer

cases in which they have a fee interest if they receive common benefit work product or otherwise

benefit by the work performed in the MDL.

       The Court recognizes the jurisdictional rights and obligations of the state courts to conduct

their state court litigation as they so determine and that the state court litigations may include

counsel who are Participating Counsel who have executed Exhibit A, as well as Counsel who are

bound by this Order under Sections I.A.1, I.A.2, I.A.3, I.A.4, and I.A.5. The Participation

Agreement and this Order shall not be cited by a Party to the Participation Agreement in any other

court in support of a position that adversely impacts the jurisdictional rights and obligations of the

state courts and state court Participating Counsel.

II.    TIMING OF SUBMISSIONS FOR COMMON BENEFIT TIME & EXPENSES

       Time and expense submissions are to be made no later than the last day of each month,

beginning November 30, 2023. Except for the first submission, each submission should contain all

time and expenses incurred through the last day of the calendar month that precedes the month prior

to the submission date. For example, the submission due on December 31, 2023, should include all

time and expenses incurred from October 1, 2023 through October 31, 2023, and then the

submission due on January 31, 2024, should include all time and expenses incurred from November

1, 2023 through November 30, 2023, and then the submission due on February 28, 2024, should



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include all time and expenses incurred from December 1, 2023 through December 31, 2023, and so

on. The first submission due on November 30, 2023 should include all time and expenses

incurred through September 30, 2023.

        All time and expense submissions should be accompanied by contemporaneous records in

the form provided (and attached hereto as Exhibit C) and verified by a partner or shareholder in the

submitting firm or by a member of the PSC, Affiliated Counsel or Special Insolvency Professional

if that person is not a partner or shareholder in the submitting firm. In addition, each firm that makes

a common benefit time and/or cost submission for a given month shall also be required to submit a

brief summary (no more than 2 or 3 sentences) summarizing the contribution that each timekeeper

from that law firm made toward the common benefit and advancement of the litigation.

       Failure to provide submissions in a timely manner may result in a waiver of attorney fees

and expenses claimed for the time period that is the subject of the submission. Failure to submit

time and expense records in electronic (searchable) format on the Excel forms approved by

Plaintiffs’ Co-Leads attached hereto as Exhibit C, may result in a deficiency, after which the

submitting firm must cure the deficient submission. Absent prior approval from Plaintiffs’ Co-Lead

or special circumstances, failure to cure a deficiency within twenty-one (21) from notice by

Plaintiffs’ Co-Leads or their designee(s) may result in (a) that month’s submission being rejected,

and/or (b) the submitting firm waiving compensation for the time and expenses submitted that

month. Upon a determination by Plaintiffs’ Co-Lead that a Participating Law Firm repeatedly fails

to comply with the requirement to timely submit time and expense records in the required format,

that Participating Law Firm may be barred from performing future common benefit work.

       Moreover, only that time and those expenses incurred for the common benefit of all cases,

consistent with the terms of this Order and the Court’s Order Granting Petition for Appointment of

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a Plaintiffs’ Leadership Committee, dated March 2, 2023 shall be considered for common benefit

reimbursement at the end of the litigation.

       All time and expenses submissions shall be made to the following email address:

MDL3060Time@amylcollinspc.com

III.   COMMON BENEFIT EXPENSES

       A.      Qualified Expenses Eligible for Reimbursement

       In order to be eligible for reimbursement of common benefit expenses, an expense must

meet the requirements of this section and the limitations set forth in the Participation Agreement.

Specifically, an expense must be: (a) for the common benefit, including work conducted in

preparation for and participation in any insolvency proceeding of a Defendant for the benefit of all

plaintiffs; (b) appropriately authorized; (c) timely submitted within the defined limitations set forth

in this Order; and (d) verified by a partner or shareholder in the submitting firm or by a member of

the PSC, Affiliated Counsel or Special Insolvency Professional if that person is not a partner or

shareholder in the submitting firm.

       B.      Shared and Held Common Benefit Expenses

               1.      Shared Costs

       Shared costs are costs incurred for the common benefit of all plaintiffs. Shared Costs are

costs that will be paid out of a separate Hair Relaxer Operating Expense Fund established and

administered by Plaintiffs’ Co-Leads and/or its designee and funded by all members of the PSC and

others as determined by Plaintiffs’ Co-Leads. All Shared Costs must be approved by no less than a

majority of Plaintiffs’ Co-Leads or designee(s) prior to payment. Shared Costs include: (a) certain

filing and service costs; (b) deposition, court reporter, and video technician costs for non-case

specific depositions; (c) costs necessary for creation of a document depository, the operation and



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administration of the depository, and any equipment required for the depository; (d) PSC

administrative matters (e.g., expenses for equipment, technology, courier services, telecopier,

electronic service, photocopy and printing, secretarial/temporary staff, etc.); (e) PSC and

administrative matters such as PSC or PEC meetings; (f) accountant fees; (g) general non-case

specific expert witness and consultant fees and expenses; (i) research by outside third party

vendors/consultants/ attorneys; (j) translation costs; (k) bank or financial institution charges; (l)

certain investigative services, (m) costs associated with bellwether trials, as defined and approved

in writing by Plaintiffs’ Co-Leads; (n) costs associated with securing external counsel, including

but not limited to bankruptcy and ethics counsel; and (n) special master and/or mediator charges.

               2.      Held Costs

       Held Costs are those that will be carried by each Participating Counsel in MDL 3060. Held

Costs are those that do not fall into any of the above categories of shared costs but are incurred for

the benefit of all plaintiffs. By way of example, travel costs incurred by a firm for travel to undertake

common benefit work shall be held costs. Held costs can also include unreimbursed, but authorized,

shared costs. No specific client-related costs shall be considered as Held Costs, unless the case is

determined in writing by Plaintiffs’ Co-Leads to be a “common benefit case,” e.g., certain

bellwether cases as determined by Plaintiffs’ Co-Leads.

       C.      Authorization and Submission

       The Participation Agreement sets forth the guidelines for authorizing and submitting

expenses for the common benefit which shall be followed.

       D.      Expenses Limitations

               1.      Travel Limitations




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       Except in extraordinary circumstances approved in advance by Plaintiffs’ Co-Leads, all

travel reimbursements are subject to the following limitations:

               i.     Air Travel: Only the price of a coach seat for a reasonable itinerary will be
                      reimbursed. Business/First Class Airfare will not be fully reimbursed, except
                      for international flights or domestic flights where the actual in air travel time
                      is 3 hours or more, both of which require prior approval by Plaintiffs Co-
                      Leads in order to be considered for reimbursement. Use of a private aircraft
                      will be reimbursed at the rate of first-class fare per passenger. If
                      Business/First Class Airfare is used on domestic flights then the difference
                      between the Business/First Class Airfare and the coach airfare must be
                      shown on the travel reimbursement form, and only the coach fare will be
                      reimbursed.

               ii.    Hotel: Hotel room charges for the average available room rate of a business
                      hotel, including the Hyatt, Westin, and Marriott hotels, in the city in which
                      the stay occurred will be reimbursed.

               iii.   Meals: Meal expenses must be reasonable.

               iv.    Cash Expenses: Miscellaneous cash expenses for which receipts are
                      generally not available (tips, luggage handling, pay telephone, etc) will be
                      reimbursed up to $50.00 per trip, as long as the expenses are properly
                      itemized.

               v.     Rental Automobiles: Luxury automobile rentals will not be fully reimbursed,
                      unless only luxury automobiles were available. If luxury automobiles are
                      selected when non-luxury vehicles are available, then the difference between
                      the luxury and non-luxury vehicle rates must be shown on the travel
                      reimbursement form, and only the non-luxury rate may be claimed, unless
                      such larger sized vehicle is needed to accommodate several counsel.

               vi.    Mileage: Mileage claims must be documented by stating origination point,
                      destination, total actual miles for each trip, and the rate per mile paid by the
                      member’s firm. The maximum allowable rate will be the maximum rate
                      allowed by the IRS (currently 65.5 cents per mile).

               2. Non-Travel Limitations

               i.     Shipping, Courier and Delivery Charges: All claimed expenses must be
                      documented with bills showing the sender, origin of the package, recipient,
                      and destination of the package.




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               ii.     Postage Charges: A contemporaneous postage log or other supporting
                       documentation must be maintained and submitted. Postage charges are to be
                       reported at actual cost.

               iii.    In-House Photocopy: A contemporaneous photocopy log or other supporting
                       documentation must be maintained and submitted. The maximum copy
                       charge is 10¢ per page.

               iv.     Computerized Research – Lexis/Westlaw: Claims for Lexis or Westlaw, and
                       other computerized legal research expenses should be in the exact amount
                       charged to or allocated by the firm for these research services.

            E. Verification

       The forms detailing expenses shall be certified by a partner or shareholder in the submitting

firm or by a member of the PSC, Affiliated Counsel or Special Insolvency Professional if that

person is not partner or shareholder in the submitting firm. Attorneys shall keep receipts for all

expenses. Credit card receipts are an appropriate form of verification if accompanied by a

declaration from counsel that the work was performed and paid for the common benefit.

IV.    COMMON BENEFIT WORK

       A.      Qualified Common Benefit Work Eligible for Reimbursement

       Only Participating Counsel are eligible for reimbursement for time and efforts expended for

the common benefit if said time and efforts are: (a) for the common benefit,; (b) appropriately

authorized; (c) timely submitted; and (d) verified by a partner or shareholder in the submitting firm

or by a member of the PSC, Affiliated Counsel or Special Insolvency Professional if said attorney

is not a partner or shareholder in the submitting firm.

       Common benefit work shall only be performed by employees of the law firm submitting

time/expenses and time/expenses by contract attorneys will not be compensated/reimbursed, unless

allowed for in this Order (i.e. Special Insolvency Professionals), or approved by a Plaintiffs’ Co-

Lead Counsel in writing.


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       Not all common benefit hours billed/submitted are equal. There is no guarantee that all of

the time submitted by any firm or lawyer will be compensated and the hourly rate for the work that

is compensated is not guaranteed. Moreover, because all common benefit work is not the same, the

hourly rate between tasks and work may vary significantly. Moreover, if counsel is a member of

the PSC and fails to timely submit capital contributions as may be requested by Plaintiffs’ Co-Leads

throughout this litigation, such counsel and members of his/her firm shall not be allowed to submit

common benefit time or expenses for reimbursement for the period of time and submission of this

time or expense may be rejected or significantly reduced for failure to timely pay capital

contributions.

       B.        Compensable Common Benefit Work Defined

       As the litigation progresses and common benefit work product continues to be generated,

Plaintiffs’ Co-Leads and the PEC may assign common benefit work. Examples of common benefit

work include, but are not limited to, document review and document coding; expert retention and

development authorized by Co-Leads; work conducted in preparation for and participation in any

insolvency proceeding of a Defendant or potential Defendant, including but not limited to

representation of Co-Lead Counsel, PEC and/or PSC in the chapter 11 cases of Revlon Consumer

Products Corp. and its affiliates and subsidiaries; and preparing for and conducting authorized

depositions of Defendants, third-party witnesses, and experts. Common benefit work may also

include research on legal issues, work on case management matters, third-party discovery, and other

matters. While the work-up of individual cases is not considered common benefit, in the event that

a case is selected as part of an approved early trial or bellwether trial process in the MDL, the time

and expenses in working-up as part of the bellwether process and all pre-trial and trial work for the

case (including work performed as part of the approved bellwether process), as defined by



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Plaintiffs’ Co-Leads, may be authorized by Plaintiffs’ Co-Leads and thus be considered for

common benefit to the extent it complies with the other provisions of this Order or Participation

Agreement.

       C.      Authorization and Time Keeping

       All time must be authorized and accurately and contemporaneously maintained. Time shall

be kept according to these guidelines as set forth in the Participation Agreement. Further, all time

shall be submitted on a timely basis in accordance with Section II above and in the form approved

and set forth in Exhibit C, hereto. The time and expense will be maintained by the firm of

Postlethwaite & Netterville and reviewed by Amy Collins, Esq, both of whom agree to be bound

and subject to CMO 4, the Protective Order in this MDL.

V.     PLAINTIFFS’ LITIGATION FEE AND EXPENSE FUNDS

       A.      Establishing the Fee and Expense Funds

       At an appropriate time, Plaintiffs’ Co-Lead Counsel will be directed to establish two

interest-bearing accounts to receive and disburse funds as provided in this Order (the “Funds”). The

first interest-bearing accounts shall be designated the “Hair Relaxer Fee Fund” and the second

interest-bearing accounts shall be designated the “Hair Relaxer Expense Fund.” The Funds will be

held subject to the direction of this Court.

       By subsequent Order of this Court, the Court will appoint a qualified certified public

accountant or other duly capable and experienced administrator to serve as Escrow Agent (“EA”)

and/or Fund Administrator (“FA”) over the Funds and to keep detailed records of all deposits and

withdrawals and to prepare tax returns and other tax filings in connection with the Funds. Such

subsequent Order shall specify the hourly rates to be charged or fee structure for the EA and/or FA,

including any of the EA and/or FA’s assistants, who shall be utilized where appropriate to control



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costs. The EA and/or FA shall submit quarterly detailed bills to the Court and to Plaintiffs’ Co-

Lead Counsel or its designee. Upon approval by the Court, the EA and/or FA’s bills shall be paid

from the Hair Relaxer Expense Fund or the PSC directly and shall be considered a shared cost. The

Plaintiffs’ Co-Lead Counsel or its designee shall provide a copy of this Order to the EA and/or FA.

       B.      Payments into the Fee and Expense Funds

               1. General Standards

       All plaintiffs and their attorneys who are subject to this Order and who agree to settle,

compromise, dismiss, or reduce the amount of a claim or, with or without trial, recover a judgment

for monetary damages or other monetary relief, including such compensatory and punitive

damages, with respect to Hair Relaxer claims are subject to an assessment of the gross monetary

recovery, as provided herein.

               2. Gross Monetary Recovery

       Gross monetary recovery includes any and all amounts paid to plaintiffs’ counsel by

Defendants through a settlement or pursuant to a judgment, including any settlement that results

from the insolvency proceeding of any Defendant, including but not limited to any insolvency

proceeding under Title 11 of the United States Code. In measuring the “gross monetary recovery,”

the parties are to (a) exclude court costs that are to be paid by the defendant; (b) include any

payments to be made by the defendant on an intervention asserted by third- parties, such as to

physicians, hospitals, or other healthcare providers in subrogation related to treatment of a plaintiff,

and any governmental liens or obligations (e.g., Medicare/Medicaid); and (c) include the present

value of any fixed and certain payments to be made in the future. The assessment shall apply to all

of the cases of the plaintiffs’ attorneys who are subject to this Order, whether as sole counsel or co-

counsel, including cases pending in the MDL, pending in state court, unfiled, or tolled.



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               3. Assessment Amount and Holdback

       Each case of a Participating Counsel where a judgment is entered or in which a resolution

is reached with a signed settlement agreement shall be assessed for common benefit work and costs

at 11% of the Gross Monetary Recovery in each such case. This amount shall be referred to as a

Common Benefit Work Holdback percentage from the gross award, with 8% of the holdback being

used to pay common benefit work and 3% of the holdback being used to reimburse common benefit

expenses. These amounts and this request are without objection and on consent of the PSC.

       The Cost Holdback portion shall be allocated to pay and/or reimburse the expenses that have

been and/or will be incurred at the direction and approval by Co-Lead Counsel for the common

benefit of Plaintiffs in MDL 3060. The Common Benefit Work Holdback shall be allocated to pay

and/or reimburse fees for legal services that have been and/or will be provided by attorneys acting

at the direction of Co-Lead Counsel for the common benefit of Plaintiffs in MDL 3060.

       All expenses and legal services shall be at the direction of Co-Lead Counsel in order to be

considered for reimbursement from these funds. Co-Lead Counsel may apply to the Court for an

additional common benefit assessment against all Participating Cases that are pending at the time

of such an application, including if additional funds are needed for reimbursement of the expenses

that have been and/or will be incurred at the direction of Co-Lead Counsel for the common benefit

of Plaintiffs in MDL 3060.

               4. Reporting Obligations

       Plaintiffs’ Liaison Counsel shall provide to Defendants’ Liaison Counsel the following two

lists on a quarterly basis beginning on December 15, 2023: (a) a list of all lawyers who have filed

a case that is pending in the MDL (“the MDL Counsel List”) and (b) a list of all lawyers who have

executed the Participation Agreement that is Exhibit A hereto who do not have a case pending in



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the MDL (“the Non-MDL Participating Counsel List”). These same lists shall be made available to

all plaintiffs’ counsel with cases in this MDL, as well as any other plaintiffs’ counsel who signs the

Participation Agreement, upon request. In the event there is a dispute as to whether a case should

be on the lists, Plaintiffs’ Co-Lead Counsel shall seek to resolve the matter with the particular

plaintiff’s counsel informally, and if that is unsuccessful, upon motion to the Court.

       Within 14 days of receipt of these two lists from Plaintiffs’ Liaison Counsel, Defendants’

Liaison Counsel shall provide to Plaintiffs’ Liaison Counsel a list of all lawyers who appear as

counsel of record on a complaint in any hair relaxer case in any court in the United States (state or

federal) who do not appear on either the MDL Counsel List or the Non-MDL Participating Counsel

List. The parties’ reporting obligations shall continue quarterly until the conclusion of this MDL.

               5. Defendants’ Obligations to Pay Common Benefit Assessments

       For cases subject to an assessment (i.e., all plaintiffs subject to this Order under Section

I.B.1-5), Defendants are directed to withhold an assessment from any and all amounts paid to

plaintiffs and their counsel and to pay the assessment directly into the Funds as a credit against the

settlement or judgment. No orders of dismissal of any plaintiff’s claim shall be entered unless

accompanied by a certificate of the Defendants’ counsel that the assessment, if applicable, will be

withheld and will be deposited into the Funds. This provision shall apply to any amounts paid to

plaintiffs and their counsel resulting from any insolvency proceeding, including any insolvency

proceeding under Title 11 of the United States Code, and may be made by any successor to the

Debtor established pursuant to the insolvency proceeding, including but not limited to any trust

established to compensate plaintiffs established pursuant to a Chapter 11 Plan of Reorganization or

Liquidation under Title 11 of the United States Code. If for any reason the assessment is not or has




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not been so withheld, the plaintiff and his counsel are jointly responsible for paying the assessment

into the Fund promptly.

       To preserve the confidentiality of settlement amounts, if any, Defendants may pay any such

assessments on an aggregate basis for each quarter. Details of any individual settlement agreement,

individual settlement amount, or amounts deposited into escrow by any particular Defendant shall

be confidential; however they shall be disclosed to a Special Master, if one is appointed and/or

Postlethwaite & Netterville and reviewed by Amy Collins, Esq, and to Co-Lead Counsel only to:

(1) identify the plaintiff(s) in connection with which the 11% assessment is being sent; (2; (3) state

whether there are other settlement payments that will be made over time; and (4) supply details

regarding the mechanism of deposit and that the 11% has been heldback pursuant to this Order.

Co-lead counsel shall not receive information regarding an individual’s confidential settlement in

which they are not counsel in. Quarterly statements from the EA and/or FA shall, however, be

provided to Plaintiffs’ Co-Lead or its designee (and, if the Court so orders, to the Court) showing

only the aggregate of the quarterly deposits from all Defendants, disbursements, interest earned,

financial institution charges, if any, and current balance.

VI.    DISTRIBUTIONS

       A.      Court Approval

       The amounts deposited into the Hair Relaxer Fee Fund and the Hair Relaxer Expense Fund

shall be available for distribution to Participating Counsel who have performed professional

services or incurred expenses for the common benefit. Such sums shall be distributed only upon

Order of this Court. This Court retains jurisdiction over any common benefit award or distribution.

The Participating Counsel agree that any final decision by this Court regarding common benefits

fees and common benefit expenses shall be final, binding, and non-appealable.



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       B.      Application for Distribution

       Each Participating Counsel who does common benefit work and has complied with this

Order has the right to present their claim(s) for compensation and/or reimbursement prior to any

distribution approved by this Court. Any Counsel who does not sign the Participation Agreement

shall not be eligible to receive common benefit payments for any work performed or expenses

incurred.

       At the appropriate time this Court shall also appoint a Common Benefit Fee Committee to

make recommendations to this Court and/or a Special Master for distributions to Participating

Counsel who have performed common benefit work and/or incurred common benefit expenses. In

the event that there is not unanimous agreement among members of the Common Benefit Fee

Committee, each member of the Common Benefit Fee Committee shall only have one vote and

each vote shall bear the same weight. A decision about the recommendation to the Court of

Common Benefit Fee Committee need only be made by a majority of votes. The Common Benefit

Fee Committee shall determine on its own the most fair and efficient manner by which to evaluate

all of the time and expense submissions in making its recommendation to this Court and/or a Special

Master. This Court will give due consideration to the recommendation of the Common Benefit Fee

Committee.

       IT IS SO ORDERED. Dated this ______ day of _______, 2023.


                                                            _____________________________
                                                            Mary M. Rowland
                                                            United States District Judge




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                                   Exhibit A
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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

                                                    Case No. 23 C 818
 IN RE: HAIR RELAXER MARKETING
 SALES PRACTICES AND PRODUCTS                       MDL No. 3060
 LIABILITY LITIGATION
                                                    Judge Mary M. Rowland


                             EXHIBIT A TO CMO NO. 9
                         Common Benefit Participation Agreement

       THIS AGREEMENT is made this ___ day of ___________, 202__, by and between the

Plaintiffs’ Steering Committee appointed by the United States District Court for the Northern

District of Illinois in MDL 3060 and _________________________ [Name of the Firm Executing

the Agreement] (the “Participating Counsel”).

       WHEREAS, the United States District Court for the Northern District of Illinois has

appointed an attorney from each of the following law firms: DiCello Levitt LLC, The Ben Crump

Law Firm, Motley Rice, Douglas & London, P.C., Wallace Miller, Levin Papantonio Rafferty,

Johnson Becker, Simmons Hanly Conroy, Lieff Cabraser Heimann & Bernstein, Aylstock, Witkin,

Kreis & Overholtz, PLLC, May Jung, Morgan & Morgan, The Cochran Firm, Beasley Allen,

Andrews & Thorton, Environmental Law Group, Wagstaff & Cartmell LLP, Childers, Schleuter &

Smith, Fibich Leebron, Copeland Briggs, Napoli Shkolnik, Breit Biniazan, Chaffin Luhana LLP,

Schlichter Bogard & Denton, Laminack, Pirtle & Martines, Parker Waichman, Romaucci &

Blandin LLC, Ashcraft & Gerel, LLP, Bain Law, Weitz & Luxenberg, Hausfeld, Wright & Schulte

LLC, Peiffer Wolf Carr Kane Conway & Wise LLP, Stewart Mille Simmons, Wagstaff Law Firm,

and Watts Guerra to serve as members of Plaintiffs’ Steering Committee to facilitate pretrial



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proceedings in the federal actions relating to the use, marketing and sales of chemical hair relaxers;

and

        WHEREAS, the Plaintiffs’ Steering Committee, in association with other attorneys

working for the common benefit of plaintiffs, have developed or are in the process of developing

work product that will be valuable in all proceedings and benefit all plaintiffs alleging injury caused

by the use of chemical hair relaxers (“Common Benefit Work Product”); and

        WHEREAS, Participating Counsel is desirous of acquiring the Common Benefit Work

Product and establishing an amicable working relationship with the Plaintiffs’ Steering Committee

for the mutual benefit of their clients;

        NOW THEREFORE, in consideration of the covenants and promises contained herein,

and intending to be legally bound hereby, the parties agree as follows:

I.      SCOPE OF AGREEMENT

        A.      Purpose

        This Participation Agreement is a private cooperative agreement between plaintiffs’

attorneys to share Common Benefit Work Product pursuant to Case Management Number (“CMO”)

No. 9, the Order Establishing Common Benefit Fee and Expense Fund and this Participation

Agreement. Any plaintiffs’ attorney who executes this Agreement or who is otherwise bound to

this Participation Agreement by CMO No. 9 (“Participating Counsel”) is entitled to receive the

Common Benefit Work Product created by those attorneys who have also executed, or have been

deemed to have executed, the Participation Agreement, regardless of the venue in which the

attorney’s cases are pending.




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         B.     Rights and Obligations of Participating Counsel

         Participating Counsel shall be provided access to the Common Benefit Work Product,

including access to the document depository. Participating Counsel agree that all Hair Relaxer cases

and/or claims in which Participating Counsel has a fee interest, including unfiled cases, tolled cases,

and/or cases filed in state and/or federal court, are subject to the terms of this Participation

Agreement. Participating Counsel shall produce a list that correctly sets forth the name of each

client represented by them and/or in which they have an interest in the attorney fee, regardless of

what that interest is, who has filed a civil action arising from the use, marketing, and/or sale of

chemical hair relaxers. Such list shall include the court and docket number of each such case.

Participating Counsel shall also produce a list that contains the name of each client represented by

them and/or in which they have an interest in the attorney fee, regardless of what that interest is,

who has not yet filed a civil action. Participating Counsel shall supplement the lists on a quarterly

basis and provide the lists to Plaintiffs’ Co-Liaison Counsel. The initial list shall be provided within

30 days of signing this Agreement and must be supplemented every 90 days thereafter.

   II.        AGREEMENT TO PAY AN ASSESSMENT ON GROSS RECOVERY

         Subject to terms of this agreement and the terms of CMO No. 9, all plaintiffs and their

attorneys who agree to settle, compromise, dismiss, or reduce the amount of a claim, or with or

without trial, recover a judgment for monetary damages or other monetary relief, including

compensatory and punitive damages, for any chemical hair relaxer claims are subject to an

assessment of the Gross Monetary Recovery, as provided herein.




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       A.      Assessment Amount

       Each case of a Participating Counsel where a judgment is entered or in which a resolution

is reached with a signed settlement agreement shall be assessed for payment of common benefit

work and reimbursement of common benefit expenses.

       The aforementioned assessment shall be 11% of the Gross Monetary Recovery in each such

case (“the Common Benefit Work Holdback percentage”), with 8% of the holdback being used to

compensate common benefit work and 3% of the holdback being used to reimburse common benefit

expenses.

       The Participation Agreement is a private and cooperative agreement between plaintiffs’

attorneys only, and not defendants or defendants’ counsel. All plaintiffs’ attorneys who currently

have cases pending in any state court and who want to become a Participating Counsel shall, within

60 days of this Order, execute the Participation Agreement. Any plaintiffs’ attorney who does not

yet have a Hair Relaxer case filed in any federal or state court and who wants to become a

Participating Counsel shall execute the Participation Agreement if that lawyer intends to voluntarily

become a Participating Counsel and be bound by this agreement.

       B.      Gross Monetary Recovery Defined

       Gross Monetary Recover includes any and all amounts paid to plaintiffs’ and/or their

counsel by defendant(s) through a settlement or pursuant to a judgment. In measuring the Gross

Monetary Recovery, the parties are to (a) exclude court costs that are to be paid by the defendant;

(b) include any payments to be made by the defendant on an intervention asserted by third-parties,

such as to physicians, hospitals, or other healthcare providers in subrogation related to treatment of

a plaintiff, and any governmental liens or obligations (e.g., Medicare/Medicaid); and (c) include

the present value of any fixed and certain payments to be made in the future.



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        C.      Covered Cases

        The assessment amount set forth above and in the related Common Benefit Order shall apply

to all cases now pending or later filed in, transferred to, or removed to MDL 3060 and treated as

part of the coordinated proceeding known as In re Hair Relaxer Marketing Sales Practices and

Products Liability Litigation, regardless of whether the plaintiff’s attorney has executed the

Participating Agreement. In addition, pursuant to the terms of CMO No. 9, the assessment amount

shall apply to all cases in which counsel who have a filed case in MDL 3060 have a fee interest,

regardless of the size of that fee interest. Counsel who sign this Participation Agreement further

agree that the assessment shall apply to all un-filed cases, tolled cases, and/or cases filed in state

court in which they have a fee interest, regardless of the size of that fee interest.

        Non-Participating Counsel who have no fee interest in any case in MDL 3060 are not

required to pay an assessment on state court cases or on un-filed cases. However, non-MDL

Plaintiffs’ Counsel as defined in CMO No. 9, Section I(B), who do not sign the Participation

Agreement are not entitled to receive Common Benefit Work Product, and may be subject to an

increased assessment on all Hair Relaxer cases/claims in which they have a fee interest if they

receive any Common Benefit Work Product or otherwise benefit from the work product created by

the PSC and Affiliated Counsel and other Participating Counsel working with the MDL. Non-

Participating Counsel shall not be eligible to receive Common Benefit payments for any work

performed or expenses incurred.

        D.      Attorneys’ Fee Lien

        With respect to each client represented in connection with chemical hair relaxer related

claims that are filed or pending in any Federal or State court, are un-filed, or are subject to a tolling

agreement, consistent with ¶ I(B) and I(C) of the Case Management Order Establishing Common



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Benefit Fee and Expense Fund (CMO No. 9), each Participating Counsel shall agree to have

defendants deposit or cause to be deposited in the Hair Relaxer Fee and Expense Funds established

by the District Court in the MDL an 11% percentage of the gross monetary amount recovered by

each such client that is equal to the assessment amount. In the event defendants do not deposit the

assessed percentage into the Funds, Plaintiff and Plaintiff’s Participating Counsel shall deposit or

cause to be deposited in the Hair Relaxer Fee and Expense Funds established by the District Court

in the MDL a percentage of the gross amount recovered by each such client that is equal to the

assessment amount. Participating Counsel, on behalf of themselves, their affiliated counsel, and

their clients, hereby grant and convey to the PSC and Affiliated Counsel a lien upon and/or a

security interest in any fee (a) generated as a result of any recovery by any client who they represent

in connection with any chemical hair relaxer-induced injury and chemical hair relaxer marketing

and sales practices claims and (b) they have any interest in, to the full extent permitted by law, in

order to secure payment in accordance with the provisions of this Agreement. Participating Counsel

will undertake all actions and execute all documents that are reasonably necessary to effectuate

and/or perfect this lien and/or security interest.

        E.      Attorney-Client Contracts

Both the PSC and Affiliated Counsel and Participating Counsel recognize the importance of

individual cases and the relationship between case-specific clients and their attorneys. Regardless

of the type of settlement or conclusion eventually made in either state or federal cases, the PSC and

Affiliated Counsel will recommend to the MDL Court that appropriate consideration will be given

to individual case contracts between attorneys and their clients.

III.    COMMON BENEFIT EXPENSES

        A. Qualified Expenses Eligible for Reimbursement



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         In order to be eligible for reimbursement of common benefit expenses, said expenses must

be: (a) for the common benefit; (b) appropriately authorized1; (c) timely submitted within the

defined limitations set forth in this Order;; and (d) verified by a partner or shareholder in the

submitting law firm or by a member of the PSC and Affiliated Counsel if said member is not a

partner or shareholder in the submitting firm.

         B.     Authorization and Submission of Expenses

         Participating Counsel must submit expenses consistent with the Common Benefit Order.

Expenses incurred on matters common to all claimants in MDL 3060 and authorized (as that term

is defined in footnote 1) may be submitted for reimbursement.

         C.     Verification

         The forms detailing expenses shall be certified by a senior partner in each firm or PSC and

Affiliated Counsel member him or herself, and such certification should attest to the accuracy of

the submissions. Attorneys shall keep receipts for all expenses. Credit card receipts are an

appropriate form of verification if accompanied by a declaration from counsel that work was

performed and paid for the common benefit.

         Cost records shall be submitted electronically on a monthly basis to the following email

address: MDL3060Time@amylcollinspc.com as directed by CMO No. 9. Untimely submission of

Cost records may result in a waiver of said costs. Unsubstantiated costs may be disallowed, as

recommended by any Fee Committee or ultimately a Special Master or Court.

IV.      COMMON BENEFIT WORK

         A.     Common Benefit Work Eligible for Reimbursement


1
 For the purposes of this Participation Agreement, “authorized” or “approved” in terms of common benefit
expenses and common benefit work shall mean authorized and approved by a Plaintiffs’ Co-Lead Counsel
or the Plaintiffs’ Executive Committee or those individuals appointed by a Plaintiffs’ Co-Lead Counsel to
authorize or approve common benefit work.

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       In order to be eligible for reimbursement, time expended must be: (a) for the common

benefit; (b) appropriately authorized (see footnote 1 supra); (c) timely submitted; and (d) verified

by a partner or shareholder in the submitting law firm or by a member of the PSC and Affiliated

Counsel if said member is not a partner or shareholder in the submitting firm. Moreover, if counsel

is a member of the PSC and Affiliated Counsel and fails to timely submit capital contributions as

may be requested by Co-Lead Counsel throughout this litigation, such counsel and members of

his/her firm shall not be allowed to submit common benefit time or expenses for reimbursement.

       B.       Non-Sharing of Common Benefit Work with Non-Participating Counsel

       Participating Counsel are prohibited from sharing Common Benefit Work Product with

Non-Participating Counsel, as defined herein.

       C.       Authorization

       Time spent on matters common to all claimants in the MDL must be assigned by a Plaintiffs’

Co-Lead Counsel or the Plaintiffs’ Executive Committee to be eligible for consideration as common

benefit time. No time spent on developing or processing individual issues in any case for an

individual client (claimant) will be considered or should be submitted; nor should time spent on

unauthorized work be submitted for consideration.

       Examples of Authorized and Unauthorized Work:

       1. Depositions of corporate witnesses: Any attorney not designated as one of the authorized

            questioners or otherwise authorized to attend a deposition on behalf of the PSC shall not

            be eligible to submit time or expenses for preparing for or attending such deposition, as

            such attendance is deemed to be on behalf of that attorney’s individual clients.

            Additionally, while the counsel appointed as one of the authorized questioners may

            utilize other lawyers and/or staff in his/her firm to prepare for the deposition in the event



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        that he/she elects to bring other people from his/her firm to attend the deposition, only

        the time and expenses for the appointed questioner and no more than two other people

        from his/her firm shall be considered for common benefit, the time and travel of all other

        people from his/her firm should not be submitted and will not be considered for common

        benefit reimbursement or fees;

     2. Periodic PSC, MDL, or Full-Committee Conference Calls and Meetings: Such calls and

        meetings are held so that individual attorneys are kept up-to-date on the status of the

        litigation, therefore participation by listening to such calls is not common benefit work.

        Each attorney has an obligation to stay informed about the litigation so that they can

        best represent their clients, and that is a reason to participate in such calls and meetings.

        Only the attorneys designated by Plaintiffs’ Co-Lead Counsel to run those calls are

        working for the common benefit by keeping other lawyers informed and educated about

        the case, and only their time will be considered common benefit time. Nothing in this

        paragraph shall be construed to prevent members of the PSC from submitting common

        benefit time for participation in PSC communications that are germane to all members

        of the PSC and are necessary to fulfill their PSC obligations;

     3. Periodic Status Conferences: Periodic status conferences are held so that the litigation

        continues to move forward, and legal issues are resolved with the Court. Individual

        attorneys are free to attend any status conference held in open court in order to keep up-

        to-date on the status of the litigation, but participation by attending and listening to such

        conferences is not common benefit work. Each attorney has an obligation to stay

        informed about the litigation so that they can best represent their clients. Mere

        attendance at a status conference will not be considered a common benefit expense or



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        common benefit time, nor shall participation in such status conferences via telephone be

        considered common benefit time. The attorneys designated by Co-Lead Counsel to

        address issues that will be raised at a given status conference or requested by Co-Lead

        Counsel to be present at a status conference are working for the common benefit and

        their time will be considered common benefit time;

     4. Identification and Work Up of Experts: If a Participating Attorney travels to and retains

        an expert without the knowledge and approval of the Co-Lead Counsel, the MDL may

        not need or use that expert, and the associated time and expense may not be considered

        common benefit expenses/work, and therefore may not be compensable;

     5. Attendance at Various Seminars: Attendance at a seminar that has an agenda item about

        the Hair Relaxer litigation is not common benefit work or a common benefit expense

        unless expressly authorized by Co-Lead Counsel in writing;

     6. Document Review: In the MDL, only document review specifically assigned to an

        attorney and authorized by Plaintiffs’ Co-Lead Counsel or the Plaintiffs’ Executive

        Committee will be considered common benefit work. If an attorney elects to review

        documents that have not been assigned to that attorney by Plaintiffs’ Co-Lead Counsel,

        that review is not considered common benefit work;

     7. Review of Pleadings and Orders: Each attorney has an obligation to stay informed about

        the litigation so that they can best represent their clients, and review of pleadings and

        orders is part of that obligation. Only those attorneys designated by Plaintiffs’ Co-Lead

        Counsel or the Plaintiffs’ Executive Committee to review and summarize those

        pleadings or orders for the MDL are working for the common benefit, and their time

        will be considered common benefit time. All other counsel are reviewing those



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        pleadings and orders for their own benefit and the benefit of their own clients, and the

        review is not considered common benefit work. Nothing in this paragraph shall be

        construed to prevent members of the PSC from submitting common benefit time for

        reviewing orders that are germane to all members of the PSC and review of which is

        necessary to fulfill their PSC obligations;

     8. Review of Discovery Responses: Each attorney has an obligation to stay informed about

        the litigation so that they can best represent their clients, and that is a reason to review

        discovery responses served in this litigation. Only those attorneys designated by a

        Plaintiffs’ Co-Lead Counsel or the Plaintiffs’ Executive Committee, to review and

        summarize discovery responses for the MDL are working for the common benefit, and

        their time will be considered common benefit time. All other counsel are reviewing

        those discovery responses for their own benefit and the benefit of their own clients, and

        the review is not considered common benefit work;

     9. Bellwether Trials: While the work-up of individual cases is not considered common

        benefit work, in the event that a case is selected as part of an approved bellwether trial

        process in the MDL or a cooperating state court jurisdiction, the time and expenses in

        trying the case (including work performed as part of the approved bellwether process)

        may be considered common benefit work at the discretion of Co-Lead Counsel to the

        extent it complies with the other provisions of this Order and Participation Agreement;

     10. Duplicative Billing: Having multiple attorneys within one firm bill for duplicative work

        will be a fact to be considered by any Fee Committee (which will likely be appointed at

        a future and appropriate time) and may not be compensated and should not be submitted.

        Law firms are free to staff cases any way they deem appropriate for their law firm;



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            however, the MDL will not compensate one law firm for duplicative billing. This

            paragraph is not intended to prevent, by way of example, having one lawyer create the

            first draft of a brief and another lawyer review and edit the brief, nor does this paragraph

            prevent having multiple attorneys within one firm assist the questioning attorney getting

            ready for a deposition.

       D.      Time Keeping and Submission of Time Records

       All time must be accurately and contemporaneously maintained. Participating Counsel shall

keep a daily record of time spent in connection with common benefit work on this litigation,

indicating with specificity the hours, location, and particular activity (such as “conducted deposition

of John Doe”). Time entries that are not sufficiently detailed may not be considered for common

benefit payments. All common benefit work time for each firm shall be maintained in tenth-of-an-

hour increments. Time submissions are subject to audit.

       These guidelines are intended for all activities performed and expenses incurred by

Participating Counsel in MDL 3060:

       1.      All time submissions must be incurred only for work authorized under this

Participation Agreement;

       2.      All time submissions must be made on the forms provided by the Plaintiffs’

Executive Committee;

       3.      Time and expense submissions are to be made on the last day of each month,

beginning November 30, 2023. Each submission should contain all time and expenses incurred

through the last day of the calendar month that precedes the month prior to the submission date. For

example, the submission due on November 30, 2023, should include all time and expenses incurred

through September 30, 2023, and then the submission due on December 31, 2023, should include



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all time and expenses incurred from October 1, 2023 through October 31, 2023, and then the

submission due on January 31, 2024, should include all time and expenses incurred from November

1, 2023 through November 30, 2023, and then the submission due on February 28, 2024, should

include all time and expenses incurred from December 1, 2023 through December 31, 2023, and so

on. All time and expense submissions should be accompanied by contemporaneous records in the

form provided and attached hereto and verified by a partner or shareholder in the submitting firm

or by a member of the PSC and Affiliated Counsel if said member is not a partner or shareholder

in the submitting firm. Submissions of time and expense made after the 30th day of the month two

months from which the time or expense were incurred may be rejected. In addition, each firm that

makes a common benefit time and/or cost submission for a given month shall also be required to

submit a brief summary (no more than 2 or 3 sentences) summarizing the contribution that each

time keeper from that law firm made toward the common benefit and advancement of the litigation.

Moreover, only that time and those expenses incurred for the common benefit of all cases,

consistent with the terms of the Common Benefit Order (CMO 9) and this Participation Agreement

and the Court’s Order Granting Petition for Appointment of a Plaintiffs’ Leadership Committee,

dated March 2, 2023 shall be considered for common benefit reimbursement at the end of the

litigation.

        4.     All time and expense submissions must be electronically sent in the designated form

to the attention of MDL3060Time@amylcollinspc.com so they can be reviewed, compiled, and

submitted to the Court at the appropriate time.

        5.     Failure to provide submissions in a timely manner may result in a waiver of attorney

fees and expenses claimed for the time period that is the subject of the submission. Failure to submit

time and expense records in electronic (searchable) format on the Excel forms approved by



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Plaintiffs’ Co-Lead Counsel, or any other method approved by Plaintiffs’ Co-Lead Counsel, may

result in a deficiency, after which the submitting firm must cure the deficient submission. Absent

prior approval from Plaintiffs’ Co-Lead Counsel or special circumstances, failure to cure the

deficiency within the twenty one-day period shall result in (a) that month’s submission being

rejected, and (b) the submitting firm waiving compensation for the time and expenses submitted

that month. Upon a determination by Plaintiffs’ Co-Lead Counsel that a Participating Law Firm

repeatedly fails to comply with the requirement to timely submit time and expense records in the

required format, that Participating Law Firm may be barred from performing future common benefit

work.

        6.    Time spent compiling the data for the time and expense submissions is not

considered common benefit time.

        7.    Common benefit work shall only be performed by employees of the law firm

submitting time and/or expenses, unless prior written consent of Co-Lead Counsel is obtained.

Absent prior written consent of Co-Lead Counsel, time and/or expenses by contract attorneys will

not be compensated or reimbursed.

        8.    The undersigned Participating Counsel understands, acknowledges and agrees that

there is no guaranty that all of the time submitted by his or her law firm will be compensated and

that the hourly rate for the work that is compensated is not guaranteed (e.g., that the Common

Benefit Fee Committee may award different hourly rates for different work and for the same work

performed by different attorneys or law firms). The undersigned also understands, acknowledges,

and agrees that all hours are not going to be viewed equally and awarded at the same rate (e.g.,

document review time and deposition/trial time may not be treated and awarded at the same rate).




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       E.      Distribution of Fees

        1.     No Individual Right to the Funds: No party or attorney has any individual right to

any common benefit funds except to the extent directed by Order of the MDL Court. Common

benefit funds will not constitute the property of any party or attorney or be subject to garnishment

or attachment for the debts of any party or attorney except when and as directed by court order.

These limitations do not preclude a party or attorney from transferring, assigning, or creating a

security interest in potential disbursements from the fund if permitted by applicable state laws and

if subject to the conditions and contingencies of this Agreement.

        2.     Court Approval: The amounts deposited in the Hair Relaxer Fee and Expense Funds

shall be available for distribution to attorneys who have performed professional services or incurred

expenses for the common benefit. The MDL Court retains jurisdiction over any common benefit

award. The undersigned Participating Counsel, on behalf of themselves, their affiliated counsel,

and their clients, hereby consents to the jurisdiction of the MDL Court in connection with any

common benefit award. Any decision by the District Court (Judge Rowland) regarding the award

of common benefit fees and/or expenses shall be final, binding, and non-appealable.

        3.     Each Participating Counsel who does common benefit work has the right to present

their claim(s) for compensation and reimbursement prior to any recommendation to the Court. It is

expected that due consideration of payment of common benefit fees and expenses will be given to

the recommendation of Plaintiffs’ Common Benefit Fee Committee by the MDL Court and/or any

Special Master.




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Execute Below:




I _______________________ [name of lawyer executing the Agreement] hereby represent to the

Plaintiffs’ Leadership Group that I have the authority to execute this Agreement on behalf of my

law firm and have the authority to bind my law firm to the terms of this Agreement.



Choose One:



I _______________________ [name of lawyer executing the Agreement] hereby certify that my

law firm is a MDL Plaintiffs’ Counsel as defined in CMO ____, Section ____ and is subject to an

assessment for fees and costs as outlined herein.



I _______________________ [name of lawyer executing the Agreement] hereby certify that my

law firm is a participating non-MDL Plaintiffs' Counsel as defined in CMO ___, Section ____, and

is an early participant and is subject to an assessment for fees and costs as outlined herein.



Dated: _______________                                 ____________________________________
                                                       Law Firm Name:
                                                       Attorney’s Name:




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                                   Exhibit B
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

                                          Case No. 23 C 818
IN RE: HAIR RELAXER MARKETING
SALES PRACTICES AND PRODUCTS              MDL No. 3060
LIABILITY LITIGATION
                                          Judge Mary M. Rowland


                           EXHIBIT B TO CMO NO. 9
                          Special Insolvency Professionals

  1. Brown Rudnick LLP
  2. Otterbourg P.C.




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                                   Exhibit C
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                                                                                                            HAIR RELAXER MDL 3060
                                                                                                            MONTHLY TIME REPORT

Reporting Period: (mm/yy)                         Time Report for: (Name of firm)                                                                                                                          Month Total:             0.0
Category Codes:
01. Investigation/Analysis/Research (Factual)                                                       08. Insolvency Work/Proceedings                                 15. Experts/Consultants
02. PLC Meetings/Strategy                                                                           09. Plaintiffs' Document Production                             16. Settlement/Mediation
03. Attorney Communications                                                                         10. Legal Research                                              17. Trial Preparation
04. Case Management/Administrative                                                                  11. Bellwether Selection                                        18. Trial
05. Pleadings/Motions/Briefing                                                                      12. Depositions (Prepare/Take/Defend)                           19. Appeals/Post-Trial
06. Written Discovery                                                                               13. Document Review Tier 1                                      20. Travel
07. Court Appearances                                                                               14. Document Review Tier 2
                                                                                                                                                                     Committee Name or Co-Lead                              Time spent
                                                   Date of Service                                                                                                                               Name of Case for Case
 Last Name, First Name             Title/Level                                      Category Code                          Detailed Description of Work Performed     Counsel Who Assigned or                                   (by
                                                     (m/d/yy)                                                                                                                                       Specific Work
                                                                                                                                                                          Approved Work                                   .1 increments)
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                                   Exhibit D
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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF
                           ILLINOIS EASTERN DIVISION


                                              Case No. 23 C 818
 IN RE: HAIR RELAXER MARKETING
 SALES PRACTICES AND PRODUCTS                 MDL No. 3060
 LIABILITY LITIGATION
                                              Judge Mary M. Rowland


                         TIME AND EXPENSE VERIFICATION


        I, ______________________________, a _________________ (partner/shareholder/PSC

Member/Affiliated Counsel) in the law firm of _______________________________________,

hereby certify that the Time and Expense submission for the time period _____________________

through _____________________ is accurate to the best of my knowledge in accordance with

Case Management Order No. 9 Establishing Common Benefit Fee and Expense Protocols.




                                          _____________________________________
                                          ATTORNEY NAME


DATE:         _______________________________
